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10
                        UNITED STATES DISTRICT COURT

11                    CENTRAL DISTRICT OF CALIFORNIA
12
13   JOHN BARKER,                           Case No.:2:17-cv-3652

14              Plaintiff,
                                            COMPLAINT AND DEMAND FOR
15        vs.                               JURY TRIAL FOR:
16
                                            1. VIOLATIONS OF THE
17   XEROX EDUCATION SERVICES,                 ROSENTHAL FAIR DEBT
     LLC dba ACS EDUCATION                     COLLECTION PRACTICES
18
     SERVICES; and ACCESSLEX                   ACT [CAL. CIV. CODE § 1788]
19   INSTITUTE dba ACCESS GROUP,
20              Defendant(s).               2. VIOLATIONS OF THE
                                               TELEPHONE CONSUMER
21
                                               PROTECTION ACT [47 U.S.C. §
22                                             227]
23
24
                                  INTRODUCTION
25
          1.    JOHN BARKER (Plaintiff) bring this action to secure redress from
26
     XEROX EDUCATION SERVICES, LLC dba ACS EDUCATION SERVICES
27
     (Defendant Xerox or Xerox) and ACCESSLEX INSTITUTE dba ACCESS
28
     GROUP (Defendant Access or Access), collectively referred to as “Defendants”
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 1   for violations of the Rosenthal Fair Debt Collection Practices Act [CAL. CIV.
 2   CODE § 1788] and for violations of the Telephone Consumer Protection Act [47
 3   U.S.C. § 227].
 4                             JURISDICTION AND VENUE
 5          2.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 as
 6   Plaintiff’s claims arise under the laws of the United States.
 7          3.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)
 8   because the acts and transactions alleged in this Complaint occurred here, Plaintiff
 9   resides here, and Defendant transacts business here.
10                                          PARTIES
11          4.     Plaintiff is an individual residing in Los Angeles County, California.
12   Plaintiff is a natural person from whom a debt collector seeks to collect a consumer
13   debt which is due and owing or alleged to be due and owing from such person.
14          5.     Defendant Xerox, is a student loan servicing entity engaged in the
15   business of collecting debt in this state and in several other states, with its principal
16   place of business located in California. The principal purpose of Defendant Xerox
17   is the collection of debts in this state and several other states, and Defendant
18   regularly attempts to collect debts alleged to be due another. Defendant Access, is
19   a law school student loan lending entity engaged in the business of lending,
20   servicing and collecting debt in this state and in several other states, with its
21   principal place of business located in Pennsylvania. The principal purpose of
22   Defendant Access is the collection of debts in this state and several other states,
23   and Defendant regularly attempts to collect debts alleged to be due another.
24                              FACTUAL ALLEGATIONS
25          6.     Within one year prior to the filing of this action, Defendants
26   individually and collectively contacted Plaintiff to collect money, property or their
27   equivalent, due or owing or alleged to be due or owing from a natural person by
28

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 1   reason of a consumer credit transaction and/or "consumer debt" with respect to
 2   Plaintiff’s student loan account.
 3           7.    The alleged debt at issue is a private law school “Bar Study” loan
 4   taken out by Plaintiff over ten (10) years ago through Defendant Access. At some
 5   time in 2012, Defendant Access entered into a business relationship with Defendant
 6   Xerox wherein Defendant Xerox would service Defendant Access’ active student
 7   loan accounts, including but not limited to: preparing and delivering written
 8   correspondence including payment requests, receiving and processing payments,
 9   and placing telephone calls, collection or otherwise, to student borrowers.
10           8.    At some point in 2016, Plaintiff fell behind on his monthly payments
11   regarding his student loan with Defendant Access. As a result, Defendant Xerox –
12   at Defendant Access’ direction - began to constantly and continuously call Plaintiff
13   on his cellular telephone number ending in 5646 with the intent to harass Plaintiff
14   into paying alleged debt.
15           9.    Defendants both communicated with Plaintiff with such frequency as
16   to be unreasonable under the circumstances and to constitute harassment, including
17   multiple telephone calls in one day.
18           10.   The natural and probable consequences of Defendants’ conduct was
19   to harass, oppress or abuse Plaintiff in connection with the collection of the alleged
20   debt.
21           11.   On or about October 21, 2016, Plaintiff answered one of Defendants’
22   calls and advised an agent that Defendants were to cease placing any further calls
23   to Plaintiff and his cellular telephone. Despite these clear instructions, Defendants
24   continued to place its autodialed collection calls to Plaintiff’s cellular telephone
25   into 2017.
26           12.   Upon information and belief, Plaintiff alleges that Defendants placed
27   approximately fifteen (15) automated collection calls to Plaintiff’s cellular
28

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 1   telephone after Plaintiff had revoked consent to receive such calls on his cellular
 2   telephone.
 3         13.    Defendants and/or its agent(s) used an “automatic telephone dialing
 4   system”, as defined by 47 U.S.C. § 227(a)(1) to place these aforementioned
 5
     collection calls to Plaintiff. The dead air that the Plaintiff experienced on the calls
 6
     that he received (i.e., when Plaintiff answered there was several seconds where no
 7
     other person was on the other end) is indicative of the use of an automatic telephone
 8
 9   dialing system.

10         14.    This “dead air” is commonplace with autodialing and/or predictive
11   dialing equipment. It indicates and evidences that the algorithm(s) being used by
12   Defendants’ and/or its agent’s autodialing equipment to predict when the live
13   human agents are available for the next call has not been perfected and/or has not
14
     been recently refreshed or updated. Thus resulting in the autodialer placing a call
15
     several seconds prior to the human agent’s ability to end the current call he or she
16
     is on and be ready to accept the new connected call that the autodialer placed,
17
18   without human intervention, to Plaintiff.
19         15.    The dead air is essentially the autodialer holding the call it placed to
20   Plaintiff until the next available human agent is ready to accept it. Should the call
21   at issue been manually dialed by a live human being, there would be no such dead
22
     air as the person dialing Plaintiff’s cellular telephone would have been on the other
23
     end of the call the entire time and Plaintiff would have been immediately greeted
24
     by said person.
25
           16.    Defendants’ calls constituted calls that were not for emergency
26
27   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
28         17.    Defendants’ calls were placed to a telephone number assigned to a

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 1   cellular telephone service for which Plaintiff incurs a charge for incoming calls
 2   pursuant to 47 U.S.C. § 227(b)(1).
 3
           18.    As of October 21, 2016, when Plaintiff first demanded that Defendants
 4
     cease placing its calls to his cellular telephone, any such consent for Defendants to
 5
     place its autodialed calls (assuming it existed in the first place), was revoked by
 6
 7   Plaintiff. Accordingly, Defendants did not have Plaintiff’s “prior express consent”

 8   to receive calls using an automatic telephone dialing system on his cellular
 9   telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
10         19.    As a result of Defendants’ alleged violations of law by placing these
11   automated calls to Plaintiff’s cellular telephone without prior express consent,
12
     Defendants caused Plaintiff harm and/or injury such that Article III standing is
13
     satisfied in at least the following, if not more, ways:
14
                  a. Invading Plaintiff’s privacy;
15
16                b. Electronically intruding upon Plaintiff’s seclusion;
17                c. Intrusion into Plaintiff’s use and enjoyment of his cellular
18                telephone;
19                d. Impermissibly occupying minutes, data, availability to answer
20
                  another call, and various other intangible rights that Plaintiff has as to
21
                  complete ownership and use of his cellular telephone;
22
                  e. Causing Plaintiff to expend needless time in receiving, answering,
23
                  and attempting to dispose of Defendant’s unwanted calls.
24
25
                                FIRST CAUSE OF ACTION

26
           (Violation of the RFDCPA, CAL. CIV. CODE § 1788 – Against Both

27
                             Defendants Jointly and Severally)

28
           20.    Plaintiff incorporates by reference all of the above paragraphs of this
     Complaint as though fully stated herein.
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 1         21.    Defendants violated the RFDCPA. Defendants’ violations include,
 2   but are not limited to, the following:
 3         (a)    Defendants violated CAL. CIV. CODE § 1788.11(d) by causing a
 4   telephone to ring repeatedly or continuously to annoy the person called; and
 5         (b)    Defendants violated CAL. CIV. CODE § 1788.11(e) by communicating,
 6   by telephone or in person, with the debtor with such frequency as to be
 7   unreasonable and to constitute an harassment to the debtor under the circumstances;
 8         (c)    Defendants violated CAL. CIV. CODE § 1788.17 by collecting or
 9   attempting to collect a consumer debt without complying with the provisions of
10   Sections 1692b to 1692j, inclusive, of . . . Title 15 of the United States Code (Fair
11   Debt Collection Practices Act).
12         22.    Defendants’ acts, as described above, were done intentionally with the
13   purpose of coercing Plaintiff to pay the alleged debt.
14         23.    As a result of the foregoing violations of the RFDCPA, Defendants
15   are each liable to Plaintiff for actual damages, statutory damages, and attorney’s
16   fees and costs.
17                           SECOND CAUSE OF ACTION
18   (Violations of the TCPA, 47 U.S.C. § 227 – Against Both Defendants Jointly
19                                       and Severally)
20         24.     Plaintiff incorporates by reference all of the above paragraphs of this
21   Complaint as though fully stated herein.
22         25.     Defendants violated the TCPA. Defendants’ violations include, but
23   are not limited to the following:
24         (a)    Within four years prior to the filing of this action, on multiple
25   occasions, Defendants violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states
26   in pertinent part, “It shall be unlawful for any person within the United States . . .
27   to make any call (other than a call made for emergency purposes or made with the
28   prior express consent of the called party) using any automatic telephone dialing

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 1   system or an artificial or prerecorded voice — to any telephone number assigned
 2   to a . . . cellular telephone service . . . or any service for which the called party is
 3   charged for the call.
 4         (b)     Within four years prior to the filing of this action, on multiple
 5   occasions, Defendants willfully and/or knowingly contacted Plaintiff at Plaintiff’s
 6   cellular telephone using an artificial prerecorded voice or an automatic telephone
 7   dialing system and as such, Defendants knowing and/or willfully violated the
 8   TCPA.
 9         26.     As a result of Defendants’ violations of 47 U.S.C. § 227, Plaintiff is
10   entitled to an award of five hundred dollars ($500.00) in statutory damages, for
11   each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds
12   that Defendants knowingly and/or willfully violated the TCPA, Plaintiff is entitled
13   to an award of one thousand five hundred dollars ($1,500.00), for each and every
14   violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
15         27.     Plaintiff is also entitled to seek injunctive relief prohibiting such
16   conduct in the future.
17                             VII. PRAYER FOR RELIEF
18         WHEREFORE, Plaintiff respectfully requests that judgment be entered
19   against both Defendant Xerox and Defendant Access for the following:
20           (a)   An injunction prohibiting Defendants from contacting Plaintiff on
21                 Plaintiff’s cellular telephone using an automated dialing system
22                 pursuant to 47 U.S.C. § 227(b)(3)(A); and
23         (b)     Actual damages pursuant to CAL. CIV. CODE § 1788.30(a); and
24         (c)     As a result of Defendants’ violations of 47 U.S.C. § 227(b)(1),
25                 Plaintiff is entitled to and requests five hundred dollars ($500.00) in
26                 statutory damages, for each and every violation, pursuant to 47
27                 U.S.C. § 227(b)(3)(B); and
28

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 1        (d)    As a result of Defendants’ willful and/or knowing violations of 47
 2               U.S.C. § 227(b)(1), Plaintiff is entitled to and requests treble
 3               damages, as provided by statute, up to one thousand five hundred
 4               dollars ($1,500.00), for each and every violation pursuant to 47
 5               U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C); and
 6        (e)    Statutory damages pursuant to CAL. CIV. CODE § 1788.30(b); and
 7         (f)   Costs and reasonable attorney’s fees pursuant to CAL. CIV. CODE §
 8               1788.30(c); and
 9        (g)    Awarding Plaintiff any pre-judgment and post-judgment interest as
10               may be allowed under the law; and
11        (h)    For such other and further relief as the Court may deem just and
12               proper.
13
14                           DEMAND FOR JURY TRIAL
15        Please take notice that Plaintiff demands a trial by jury in this action.
16
17
18
19                                          RESPECTFULLY SUBMITTED,
20   Dated: May 15, 2017                    MARTIN & BONTRAGER, APC
21
22                                          By: /s/ Nicholas J. Bontrager
23                                                   Nicholas J. Bontrager
24                                                   Attorney for Plaintiff
25
26
27
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